
ORDER DENYING PETITION FOR REVIEW
This matter comes before the Fort Peck Court of Appeals on a Petition for Review filed October 15, 2015 from an Order of Eviction and Default Judgment and Order of Forcible Entry and Detainer, entered by default judgment. The Order was entered October 7, 2015, the Honorable Judge Stacey Crawford, presiding. The Appellant filed her appeal pro se.
Upon review of the Petition and the file, this Court finds as follows:
1. The Order of Eviction and Judgment and Order of Forcible Entry and Detainer by default judgment was based on the Complaint and evidence produced at the hearing on said matter.
2. The Order of Eviction and Judgment and Order of Forcible Entry and Detainer by default Judgment was granted pursuant to the default of Appellant herein, who failed to appear for the hearing.
8. The Fort Peck Court of Appeals shall not set aside any factual determinations of the Tribal Court if such determinations are supported by substantial evidence. Title II CCOJ Section 202.
4.There is no substantial evidence in the record to support a conclusion other than that reached by the Tribal Court.
BASED UPON THE FOREGOING FINDINGS AND GOOD CAUSE APPEARING:
IT IS NOW, THEREFORE, THE ORDER OF THIS COURT THAT:
1. The Petition for Review be, and the same is hereby denied.
